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                           UNITED STATES DISTRICT COURT
                                 DISTRICT OF UTAH


  JIM CURRY, et al., individually and on behalf of   STIPULATED MOTION TO STAY
  all others similarly situated,                      CASE PENDING MEDIATION
                       Plaintiffs,
                                                      Case No. 2:22-cv-00651-JNP-DBP
            v.
                                                        District Judge Jill N. Parrish
  MRS. FIELDS GIFTS, INC.,                             Magistrate Judge Dustin B. Pead
                       Defendant.




 4853-3213-1252\1
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                                     STIPULATED MOTION

        By and through their respective counsel, Plaintiffs and Defendant 1 file this Stipulated

 Motion to Stay the Case:

        Relief requested: The Motion seeks an Order entering a stipulation between the parties

 that the case is stayed, including a stay of all case deadlines, while the parties explore possible

 resolution through mediation.

        Grounds: Plaintiffs filed their First Amended Complaint on January 17, 2024. (ECF No.

 45). Defendant filed a motion to dismiss on February 16, 2024. Plaintiffs filed their corrected

 opposition on March 21, 2024. Defendants’ reply is currently due April 12, 2024. Id.

        Discovery in this case has commenced, and the parties have also begun to explore whether

 early resolution is possible. To that end, the parties have agreed to mediate the case before the

 Hon. Wayne R. Andersen (Ret.) of JAMS on June 27, 2024, the earliest date Judge Andersen is

 available. To conserve party and judicial resources, the parties have stipulated to a stay of the

 case while the parties are engaging in the mediation process. Once the mediation has concluded,

 the parties will promptly update the court on the status.

        Accordingly, the parties jointly request that the Court enter the attached Proposed Order

 staying the case pending completion of the parties’ upcoming mediation.




 1
   Pursuant to the concurrently filed Stipulation Regarding Substitution of Defendant, the name of
 the Defendant’s is now Mrs. Fields Gifts, LLC.

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 DATED this 4th day of April, 2024   SIDLEY AUSTIN LLP


                                     /s/ Jacquelyn E. Fradette
                                     Jacquelyn E. Fradette (Pro Hac Vice)
                                     Counsel for Defendant



                                     HEDIN LLP


                                     /s/ Frank S. Hedin
                                     (signed with permission via email)
                                     Frank S. Hedin (Pro Hac Vice)




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